Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 1 of 9 PageID 2894



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

    DEBORAH CLARK,

            Plaintiff,

    v.                                                               Case No: 6:17-cv-692-Orl-41TBS

    FDS BANK and DEPARTMENT STORES
    NATIONAL BANK,

            Defendants.


                                                     ORDER

            Following a hearing, the Court enters this Order on Plaintiff’s Motion to Compel

    Discovery Responses from Defendants (Doc. 80). Plaintiff Deborah Clark alleges that

    Defendants FDS Bank (“FDS”) and Department Stores National Bank (“DSNB”) violated

    the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 22 et seq. by using an

    automated telephone dialing system to call her cell phone approximately 50 times without

    her consent, in an attempt to collect a debt owed on her daughter’s Macy’s credit card 1

    (Doc. 53). Plaintiff brings this action on her own behalf and on behalf of the following

    proposed classes:

            The TCPA Class:

                    (1) All persons in the United States (2) to whose cellular
                    telephone number (3) FDS placed a non-emergency
                    telephone call on behalf of DSNB (4) using substantially the
                    same system(s) that were used to telephone Plaintiff (5) within
                    4 years of the complaint and (6) where Defendants did not
                    obtain the cellular telephone number from the consumer who
                    was called.



            1DSNB is the creditor and FDS is the servicer of the accounts (Doc. 98 at 11). FDS services the
    accounts during the first 119 days and then, if the matter is not resolved, DSNB takes over (Doc. 49, ¶ 8).
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 2 of 9 PageID 2895



           The DSNB Sub-Class:

                   (1) All persons in the United States (2) to whose cellular
                   telephone number (3) DSNB placed a non-emergency
                   telephone call (4) using substantially the same system(s) that
                   were used to telephone Plaintiff (5) within 4 years of the
                   complaint and (6) where Defendants did not obtain the
                   cellular telephone number from the consumer who was called.

        The Revocation Sub-Class:

                   (1) All persons in the United States (2) to whose cellular
                   telephone number (3) DSNB and/or FDS placed a non-
                   emergency telephone call (4) using substantially the same
                   system(s) that were used to telephone Plaintiff (5) within 4
                   years of the complaint and (6) after that person had instructed
                   Defendants to cease calls to that number.

        The Skip-Trace Sub-Class:

                   (1) All persons in the United States (2) to whose cellular
                   telephone number (3) DSNB and/or FDS placed a non-
                   emergency telephone call (4) wherein the cellular telephone
                   number was obtained through skip-tracing (5) using
                   substantially the same system(s) that were used to telephone
                   Plaintiff (6) within 4 years of the complaint.

    (Id., ¶ 57).

           Plaintiff wants to know the following information about collection calls made by

    Defendants during a four year period: (1) the phone numbers called; (2) the dialing

    system used to make each call; (3) the date on which each call was made; (4) the number

    of times each phone number was called; (5) where Defendants got the phone numbers

    they called; (6) for each call, whether it produced a live answer, prerecorded message, or

    report of a wrong number; (7) whether the recipient of the call told Defendants not to call

    the phone number again; (8) the account notes concerning each call; and (9) financial

    information to show when payments for the accounts associated with each phone number

    were made (Doc. 98 at 5-9).




                                                 -2-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 3 of 9 PageID 2896



           Defendants make approximately 137,000 telephone calls per month to account

    holders (Doc. 98 at 13). They represent that the account notes associated with all of the

    calls made during the last four years total in the tens of millions (Doc. 89 at 12; Doc. 98 at

    27). Defendants also advise that the account notes do not include all of their databases

    and documents that might have to be searched to locate the information Plaintiff wants

    (Doc. 89 at 12). Defendants maintain the ledgers showing what is owed, how much is

    paid and when in a different system which also contains account notes (Doc. 98 at 18).

    Defendants can download from the dialing system the total number of calls made, and

    they can produce a list of the phone numbers called, the dates and times the calls were

    placed and if the call was answered, the duration of the call (Doc. 98 at 15-16, 18, 20).

    But, according to Defendants, to obtain all of the information requested they must pull up

    each individual account and manually review it (Id.). They are adamant that the account

    notes are only searchable manually (Id., at 28). During a FED. R. CIV. P. 30(b)(6)

    deposition, a Director of Collections for Macy’s Credit Operations, Inc., a wholly-owned

    subsidiary of FDS testified:

                  So the system is not searchable. I cannot - - as a collector,
                  when I worked accounts, I am not able to - - I have to scroll
                  through every note. I have to review every single note as far
                  back as I wanted to go and needed to go. There’s no way to
                  pull specific aspects of the note.

    (Doc. 122-1, Pg. 30, Lines 5-10). A legal assistant in the Macy’s Law Department was

    asked to retrieve account information for 28 randomly selected accounts that were in

    collections in July 2015 (Doc. 114, ¶¶ 1, 3). Her declaration states:

                         5. After inputting the account information, the credit
                  information database displays the relevant account. I then
                  selected the fields I wished the system to retrieve, here the
                  account and collection notes. Once retrieved, I printed the
                  account and collection notes (the print to PDF and “screen



                                                 -3-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 4 of 9 PageID 2897



                   print” functionality is disabled in the system), retrieved them,
                   and scanned them into a PDF document, before saving the file
                   electronically. I repeated this process for each of the
                   remaining twenty-seven (27) accounts.

                           6. In performing this function I kept track of the time I
                   spent accessing accounts, printing the account notes and
                   collection notes, scanning them into a PDF document, and
                   then saving the electronically.

                          7. In total, I spent approximately 50 minutes locating
                   accounts, printing account and collection notes for the 28
                   accounts, an additional 14 minutes scanning in the account
                   notes and collection notes, and 13 minutes saving the various
                   PDF files, for a total of approximately 76 minutes.

    (Doc. 114, ¶¶ 5-7). Many of the accounts this witness retrieved also have archived

    collection notes that were not readily available and required additional time to obtain (Id.,

    ¶ 10).

             If the information is produced then Defendants say they have obligations to their

    customers under various banking regulations including the Gramm-Leach-Bliley Act, 15

    U.S.C. § 6801 that will require the redaction of customers’ nonpublic, personal

    information (Doc. 103 at 2). It took an administrative assistant in the Macy’s Law

    Department 135 minutes to review and redact personal identifying information from the

    account notes of 17 people (Doc. 104, ¶¶ 1,3). A paralegal in the same department

    needed 120 minutes to review and redact personal identifying information from the

    account notes of 11 individuals (Doc. 104-2, ¶¶ 1, 3). After considering the magnitude of

    Plaintiff’s requests, Defendants estimate the cost to review and redact the information

    Plaintiff seeks will be between $1,533,169 and $1,864,665 (Doc. 103 at 3).

             If these hurdles can be overcome, then Defendants argue that review of the

    account notes will require them to “make the highly factually intensive determination (and,

    as applied, legal conclusion) as to whether or not the call recipient instructed calls to stop



                                                   -4-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 5 of 9 PageID 2898



    or provided consent respectively.” (Doc. 89 at 6). Defendants also contend that Plaintiff is

    attempting to create a “fail-safe” scenario that “’front-ends a merit determination on the

    [defendants’] liability’” by requiring the identification of “’all persons … who were called

    after they requested that defendant stop calling them.’” (Id.) (quoting Tillman v. Ally

    Financial Inc., Case No. 2:16-cv-313-FtM-99CM, 2016 WL 6996113, at *5 (M.D. Fla. Nov.

    30, 2016) (quoting Kamar v. RadioShack Corp., 375 Fed. Appx. 734, 736 (9th Cir. 2010)

    (“The fail-safe appellation is simply a way of labeling the obvious problems that exist

    when the class itself is defined in a way that precludes membership unless the liability of

    the defendant is established. When the class is so defined, once it is determined that a

    person, who is a possible class member, cannot prevail against the defendant, that

    member drops out of the class. That is palpably unfair to the defendant, and is also

    unmanageable-for example, to whom should the class notice be sent?”)).

            Plaintiff does not accept Defendants’ protestations concerning the burden her

    requested discovery will impose on them. She has filed the Declaration of Jeffrey A.

    Hansen in support of her contention that the information she seeks is readily accessible

    (Doc. 122-2). Mr. Hansen is the principal of Hansen Legal Technologies, Inc., which,

    among other things, investigates and analyzes electronic data (Id., ¶ 4). He claims

    “extensive experience dealing with data warehousing, including data warehousing related

    to telemarketing and autodialers in general.” (Id., ¶ 5). Mr. Hansen says he is familiar

    “with the procedures involved in such practices, and I have personally engaged in data

    warehousing regarding the compilation of certain lists, including demographic and target

    audience lists for telemarketing, and have personally repaired defective lists to eliminate

    improperly formatted and corrupted data.” (Id.). Mr. Hansen also claims knowledge of the

    autodialer used by Defendants, the design of the databases within the dialer, and the



                                                  -5-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 6 of 9 PageID 2899



    information that should be contained within those databases (Id., ¶¶ 11-12). He states

    that the databases in the autodialer maintain pertinent “records in a very easy to use, and

    easy to export format.” (Id., ¶ 12). Mr. Hansen “estimate[s] it would take 10-15 minutes to

    export the data from the … dialer.” (Id., ¶ 13). He also estimates that it “would take less

    than an hour to export” the data Plaintiff wants from all of the collection notes (Id., ¶ 14).

           Attached to Mr. Hansen’s declaration is a copy of the Declaration of Robert

    Biggerstaff filed in a different case (Id., at 88). According to Mr. Hansen “[t]hat matter was

    identical to this matter as far as the data analysis.” (Id., ¶ 22). Mr. Hansen also declares

    that “all of Robert Biggerstaff’s declaration is relevant to this matter.” (Id.) (emphasis in

    original). In his declaration Mr. Biggerstaff states that he is:

                  a certified computer forensic examiner and a member of the
                  International Society of Forensic Computer Examiners
                  ("ISFCE"). I have over 30 years of experience in forensic
                  computer examinations and data recovery. I have been
                  retained as a expert in computer forensics and data analysis
                  in over 300 court cases and have performed hundreds of data
                  recovery and ESI preservation assignments across many
                  diverse platforms and filesystems.

    (Id., at 89). Mr. Biggerstaff represents that he has “direct experience in the role that

    computer records play in claims under the Telephone Consumer Protection Act ("TCPA"),

    specifically with regard to analyzing those records for the purposes of identifying persons

    to whom telephone calls were made, the circumstances of those calls, and for purposes

    of class certification and class notice.” (Id.). According to Mr. Biggerstaff:

                          12. I am aware that some people (even IT professionals
                  directly involved with the data) using business databases
                  similar to those used by Ally believe that their records can not
                  be accessed or searched to produce certain information,
                  particularly when the data sought is recorded in “free-form”
                  text fields. However, I have been able to extract information
                  and generate reports from such computer records that the
                  users of the system were genuinely unaware could be



                                                  -6-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 7 of 9 PageID 2900



                obtained, or believed could only be obtained with great
                difficulty. Similarly, information that was believed to require
                extensive programming or machine-time to obtain, was in fact
                obtainable by me in less than an hour’s work.

                        32. The aggregate size of the data is really only a minor
                issue. The amount of work to write a script to export the data is
                largely the same whether it is exporting 10,000 records or 1
                billion records. The latter will just take longer to run once it
                starts. The same is true for my analysis—I do essentially the
                same amount of work whether I am analyzing 10,000 records
                or a billion records. This type of analysis is simple to do and I
                have done it before in many cases and with larger databases.

                       33. One reason is that my forensic analysis system is
                optimized and specially tailored for forensic analysis, and not
                intended for day-to-day business operation. Suppose a dialer
                database has 100 million records to search for text mentioning
                the words “wrong number.” Such a search may take several
                hours on a particular unindexed system that is designed for
                day-to-day business use and not optimized for such a free-text
                search. But that same search can take just seconds on an
                optimized system like I operate for forensic analysis, once the
                data is loaded onto that system.

                        34. The same business system that may have 100
                million records, likely contains many columns of data for each
                record. My task (to identify records where the notes indicate a
                DNC request or wrong number occurred) needs only a few
                columns of data (primarily account number, date, phone
                number, and notes for my analysis.) Exporting any table
                (relational or not) to CSV or other portable format is a simple
                task supported by all conventional database platforms. Ally
                can simply export those columns of data to one or more
                external CSV files, and send them to me to analyze and
                conduct the searches. I have received and analyzed data
                using this exact procedure in many cases.

                       36. I can easily load hundreds of millions text records
                into a work index or forensic tool and be able to do very
                sophisticated searches of the entire corpus of those records
                practically instantly. This allows me to conduct a robust
                analysis of the data using proximity operators, wildcards, word
                stemming, and other techniques.

                       37. By examining the entire body of those records at
                once, I will be able to efficiently develop an objective algorithm
                to identify records containing DNC requests and wrong



                                               -7-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 8 of 9 PageID 2901



                  number calls. That objective algorithm will then be able to be
                  examined by anyone for its accuracy and error rate (if any)
                  against the data.

    (Id., at 91, 97-98) (emphasis in original) (footnote omitted).

           Plaintiff’s evidence is sufficient to persuade the Court that Defendants’ business

    records may not be as difficult to search as they contend. Accordingly, the motion to

    compel is GRANTED as follows.

           First, the parties should be guided by the following practice pointers:

                  The successful use of any automated search method or
                  technology will be enhanced by a well-thought-out process
                  with substantial human input on the front end.

                  Parties and their counsel should make a good faith attempt to
                  cooperate when determining the use of particular search and
                  information retrieval methods, tools, and protocols (including
                  keywords, concepts, computer-or technology-assisted review
                  and other types of search parameters and quality control
                  measures.

    The Sedona Conference Journal Volume 15, Fall 2014, The Sedona Conference Best

    Practices Commentary on the Use of Search & Information Retrieval Methods in E-

    Discovery pages 224-225.

           With these pointers in mind, counsel and the parties’ experts shall hold a FED. R.

    CIV. P. 26(f) conference within 21 days from the rendition of this Order. At the conference

    they will discuss how Defendants’ business records will be made available for search and

    retrieval by Mr. Hansen. They will also discuss how information not included in items (1)-

    (9) above, or that is confidential, is removed and redacted from the production to be made

    to Plaintiff. The Court expects Plaintiff to identify the specific fields of information she

    needs and agree to the use of anonymizers to conceal account holders’ identities and

    other personal information. The Court also expects Plaintiff to agree to reasonable

    precautions to protect the integrity and confidentiality of Defendants’ systems and


                                                  -8-
Case 6:17-cv-00692-CEM-TBS Document 124 Filed 11/07/18 Page 9 of 9 PageID 2902



    procedures. In like manner, the Court expects Defendants to agree on a reasonable

    methodology that gives Mr. Hansen the access he needs to attempt to search and

    retrieve relevant information. This may mean that Mr. Hansen is given direct access to

    Defendants’ systems, that he is provided with mirror images, or that some other

    reasonable methodology is employed. All of these activities will be conducted subject to

    an appropriate confidentiality agreement signed by all involved on the Plaintiff’s side. If

    the parties cannot resolve these matters between themselves within the next 35 days,

    then on motion filed the Court will hold an evidentiary hearing where it will hear from the

    experts and then dictate the process and procedure to the parties.

           Defendants’ concerns about the subjective interpretation of the account note

    entries and the creation of “fail-safe” classes are issues to be dealt with later in the case.

    For now, discovery must get underway so that the case can move forward.

           All other relief requested in the motion to compel is DENIED without prejudice.

           DONE and ORDERED in Orlando, Florida on November 7, 2018.




    Copies furnished to Counsel of Record




                                                 -9-
